




Dismissed and Memorandum Opinion filed November 20, 2008








Dismissed
and Memorandum Opinion filed November 20, 2008.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-08-00760-CV

____________

&nbsp;

TYLER J. SCOFIELD and P. ELIZABETH
NELSON SCOFIELD, Appellants

&nbsp;

V.

&nbsp;

NEW CENTURY MORTGAGE CORP. AND
DEUTSCHE BANK NATIONAL TRUST COMPANY AS TRUSTEE FOR NEW CENTURY MORTGAGE CORP.,
Appellees

&nbsp;



&nbsp;

On Appeal from the 151st District
Court

Harris County, Texas

Trial Court Cause No.
2006-21802

&nbsp;



&nbsp;

M E M O R
A N D U M&nbsp; &nbsp;O P I N I O N

This
appeal is from a judgment signed July 21, 2008.&nbsp; No clerk=s record has been filed.&nbsp; The clerk
responsible for preparing the record in this appeal informed the court
appellants did not make arrangements to pay for the record.&nbsp; 








On
October 2, 2008, notification was transmitted to all parties of the Court's
intention to dismiss the appeal for want of prosecution unless, within fifteen
days, appellants paid or made arrangements to pay for the record and provided
this court with proof of payment.&nbsp; See Tex.
R. App. P. 37.3(b).&nbsp; Appellants have not provided this court with proof
of payment for the record.&nbsp; 

In
addition, our records show that appellants have neither established indigence
nor paid the $175.00 appellate filing fee.&nbsp; See Tex. R. App. P. 5 (requiring payment of fees in civil cases
unless indigent);Tex. R. App. P. 20.1 (listing
requirements for establishing indigence); see also Order Regarding Fees
Charged in Civil Cases in the Supreme Court and the Courts of Appeals and
Before the Judicial Panel on Multidistrict Litigation, Misc. Docket No. 07-9138
(Tex. Aug. 28, 2007) (listing fees in court of appeals); Tex. Gov=t Code Ann. ' 51.207 (Vernon
2005) (same). &nbsp;Appellants
did not respond to this Court=s notice that the filing fee was past due and the appeal was
subject to dismissal.

Accordingly,
the appeal is ordered dismissed.

&nbsp;

PER
CURIAM

&nbsp;

Judgment rendered and Memorandum Opinion filed
November 20, 2008.

Panel consists of Chief Justice Hedges and Justices
Guzman and Brown.&nbsp; 

&nbsp;





